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                      IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH



 UNITED STATES OF AMERICA,                              INDICTMENT

        Plaintiff,                             VIOLATION:
                                               Count I: 18 U.S.C. § 922(g)(l), Felon in
        vs.                                    Possession of a Firearm and Ammunition.

  SIONE POUHA, aka "C ROC" and
  "CHUB ROC,"
                                                Case: 2:23-cr-00170
        Defendant.                              Assigned To : Campbell, Tena
                                                Assign. Date: 5/2/2023


      The Grand Jury Charges:

                                        COUNTI
                                    18 U.S.C. § 922(g)(l)
                     (Felon in Possession of a Firearm and Ammunition)

      On or about April 30, 2023, in the District of Utah,

                     SIONE POUHA, aka "C ROC" and "CHUB ROC,"

defendant herein, knowing he had previously been convicted of a crime punishable by

imprisonment for a term exceeding one year, knowingly possessed a firearm and
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ammunition, to wit: a Ruger 1911 .45 caliber semi-automatic pistol and ammunition, and

the firearm and ammunition were in and affecting commerce; all in violation of 18 U.S.C.

§ 922(g)( 1).


                                               A TRUE BILL:




                                               FOREPERSON OF GRAND JURY


TRINA A. HIGGINS
United States Attorney



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VICTORIA K. McFARLAND
Assistant United States Attorney




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